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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

 HÉCTOR L. MOLINA-NADAL,

      Petitioner,

                   v.                       Civil No. 17-2228 (FAB)

 COMMONWEALTH OF PUERTO RICO, et
 al.,

      Respondents.


                          MEMORANDUM AND ORDER

BESOSA, District Judge.

     Respondents the Commonwealth of Puerto Rico, the Department

of Corrections and Rehabilitation, and Attorney General Wanda

Vázquez-Garced     in   her   official   capacity   only   (collectively,

“respondents”) move to dismiss petitioner Héctor L. Molina-Nadal

(“Molina”)’s habeas corpus petition pursuant to Federal Rule of

Civil Procedure 12(b)(6) (“Rule 12(b)(6)”).         (Docket No. 19.)   The

petitioner has not opposed the respondents’ motion.              For the

reasons set forth below, the respondents’ motion to dismiss (Docket

No. 19) is GRANTED.

I.   BACKGROUND

     On March 25, 2013, the Puerto Rico Court of First Instance,

Mayagüez Division, sentenced Molina to seventeen (17) years and

one (1) day in prison, after he pled guilty to one count of third

degree robbery, pursuant to Article 198 of the Puerto Rico Penal
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Code of 2004 (“Penal Code”), P.R. Laws Ann. tit. 33, § 4826, one

count of aggravated restriction of freedom, pursuant to Article

168 of the Penal Code, P.R. Laws Ann. tit. 33, § 4796, one count

of illegal possession of a firearm, pursuant to Article 5.04 of

the Puerto Rico Weapons Act of 2000 (“Weapons Act”), P.R. Laws

Ann. tit. 25, § 458(c), one count of illegal possession of a bladed

weapon, pursuant to Article 5.05 of the Weapons Act, P.R. Laws

Ann. tit. 25, § 458(d), and one count of discharging or pointing

a firearm, pursuant to Article 5.15 of the Weapons Acts, P.R. Laws

Ann. tit. 25, § 458(n).       (Docket No. 2 at p. 4.)

         Molina did not seek review of his conviction through direct

appeal to the Puerto Rico Court of Appeals.                (Docket No. 2 at

p. 5.)      Molina   challenged   his   conviction    by   filing   a    motion

pursuant to Puerto Rico Rule of Criminal Procedure 192.1 (“Rule

192.1”), but the trial court denied his motion on July 31, 2017,

and Molina did not appeal the trial court’s decision.                   (Docket

No. 2 at pp. 5-8.)       Molina did not file a habeas corpus petition

in state court pursuant to Puerto Rico law.

     On October 4, 2017, Molina filed a habeas corpus petition in

this Court pursuant to 28 U.S.C. section 2254 (“section 2254”).

(Docket No. 2.)
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II.   DISCUSSION

      Rule 12(b) permits a party to assert defenses against claims

for relief.       Fed. R. Civ. P. 12.       A Court, nonetheless, “must

construe    the   complaint   liberally,”    Aversa   v.    United   States,

99 F.3d 1200, 1210 (1st Cir. 1996), and a complaint that adequately

states a claim may still proceed even if “recovery is very remote

and unlikely.”      Ocasio-Hernández v. Fortuño-Burset, 640 F.3d 1, 13

(1st Cir. 2011) (internal quotation marks and citations omitted);

see Katz v. Pershing, LLC, 672 F.3d 64, 70 (1st Cir. 2012) (“In

considering the pre-discovery grant of a motion to dismiss for

lack of standing, [courts] accept as true all well-pleaded factual

averments   in    the   plaintiff’s . . .   complaint      and   indulge   all

reasonable inferences therefrom in his favor.”) (internal citation

omitted).

      A defendant may move to dismiss an action for failure to state

a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6).

To survive a Rule 12(b)(6) motion to dismiss, a complaint must

contain sufficient factual matter “to state a claim to relief that

is plausible on its face.”          Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007).       A court must decide whether the complaint

alleges sufficient facts to “raise a right to relief above the

speculative level.”      Id. at 555.
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     A federal court may consider an application for a writ of

habeas corpus when a petitioner asserts that his or her conviction

violates the Constitution, laws or treaties of the United States.

28 U.S.C. § 2254(a); Lyons v. Brady, 666 F. 3d 51, 55 (1st Cir.

2012).    To be eligible for relief, a petitioner must show that he

or she has either exhausted all state court remedies for each claim

raised, or that he or she is excused from exhausting those remedies

because of an absence of available or effective state corrective

processes.     See 28 U.S.C. § 2254(b)-(c); Báez-Figueroa v. Att’y

Gen. of P.R., 2015 WL 5436910, at *4 (D.P.R. Sept. 15, 2015)

(Besosa, J.) (citations omitted).

     “Federal habeas relief is available to state prisoners only

after they have exhausted their claims in state court.” O’Sullivan

v. Boerckel, 526 U.S. 838, 839 (1999); see Adelson v. DiPaola, 131

F.3d 259, 261 (1st Cir. 1997).        A petitioner “shall not be deemed

to have exhausted the remedies available in the courts of the State

. . . if he has the right under the law of the State to raise, by

any available procedure, the question presented.”                 28 U.S.C.

§ 2254(c).     A “habeas petitioner has to avail himself, not only of

whatever appeals he was entitled to as a matter of right, but also

as to any discretionary remedies available.” Díaz-Castro v. Román-

Román, 683 F. Supp. 189, 191 (D.P.R. 2010) (Casellas, J.).
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      To exhaust state remedies in the Commonwealth of Puerto Rico,

a petitioner must either file a motion requesting that the trial

court vacate, set aside, or correct the judgment pursuant to

Rule 192.1, or file a petition requesting a writ of habeas corpus

pursuant to section 1741 of the Puerto Rico Code of Criminal

Procedure (“section 1741”).      See P.R. Laws Ann. tit. 34, § 1741-

43.   Exhaustion is only satisfied after the motion or petition is

appealed and reviewed by the Supreme Court of Puerto Rico.             See

P.R. Laws Ann. tit. 34, § 1779.

      Molina did not exhaust the available state remedies necessary

to seek relief in this Court.       Although Molina did challenge his

conviction pursuant to Rule 192.1, he did not appeal the court’s

denial of his motion, nor did he petition for a writ of certiorari

to the Supreme Court of Puerto Rico or file a petition for habeas

corpus in state court.     (Docket No. 2 at pp. 6-8.)      Because Molina

must “avail himself, not only of whatever appeals he was entitled

to as a matter of right, but also as to any discretionary remedies

available” before he may seek such remedies in federal court, the

Court will not consider Molina’s petition.         See Díaz-Castro, 683

F. Supp. at 191.
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III. CONCLUSION

     For the reasons stated, the respondents’ motion to dismiss

(Docket No. 19) is GRANTED.     Molina’s petition (Docket No. 2) is

DISMISSED WITH PREJUDICE.

     Judgment shall be entered accordingly.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, October 31, 2018.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
